Case 1:20-cv-11889-MLW Document 135 Filed 06/01/21 Page 1 of 3

UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

DR. SHIVA AYYADURAI,

Plaintiff,

Vv. . C.A. No. 1:20-11889-MLW

WILLIAM FRANCIS GALVIN,
MICHELLE K. TASSINARI,
DEBRA O'MALLEY,
AMY COHEN,
NATIONAL ASSOCIATION OF STATE
ELECTION DIRECTORS,
all in their individual
capacities, and
WILIAM FRANCIS GALVIN, in his
official capacity as the
Secretary of the Commonwealth
of Massachusetts,

Defendants.

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MEMORANDUM AND ORDER

 

WOLF, D.J. June 1, 2021

In view of plaintiff Shiva Ayyadurai's May 25, 2021 Status
Report (Dkt. No. 123), the Massachusetts defendants' May 27, 2021
Response (Dkt. No. 127), and Twitter, Inc.'s May 28, 2021 Response
(Dkt. No. 129), it is hereby ORDERED that:

1. If plaintiff, who has been proceeding pro se, wishes to
retain Howard Cooper, Esq. and Charles Harder, Esq., at his own
expense, they shall, by June 4, 2021, file their appearances.! As

the court explained at the May 21, 2021 hearing, while it has the

 

1 If necessary, Mr. Harder shall, by June 4, 2021, also file a
motion to appear pro hac vice. See Rule 85.5.3 of the Local Rules
of the United States District Court for the District of
Massachusetts.
Case 1:20-cv-11889-MLW Document 135 Filed 06/01/21 Page 2 of 3

discretion to allow "hybrid" representation and permit plaintiff,
as well as counsel, to address the court, it is not usually
appropriate to do so. See, e.g., McCulloch v. Velez, 364 F.3d 1,

5 (lst Cir. 2004); United States v. Nivica, 887 F.2d 1110, 1121

 

(lst Cir. 1989). If plaintiff is represented by counsel, the court
will consider on a case-by-case basis whether to permit him, as
well as counsel, to address the court concerning particular
matters.

2. Counsel for plaintiff, or plaintiff if he decides to
continue pro se, shall confer with counsel for defendants and for
Twitter, and, by June 11, 2021, propose an agenda for a scheduling
conference. The report should include whether counsel for
plaintiff wish to file a revised proposed Second Amended Complaint
in conventional form and possibly with altered claims. The report
should also address whether plaintiff proposes to seek any
discovery before the pending motions are decided. The parties'
respective views on any disputed issues shall be succinctly stated
in the report.

3. A Scheduling Conference shall be held, by video, on June
15, 2021, at 2:30 p.m.

4, Plaintiff shall not issue any request(s) for discovery
unless authorized to do so at or after the June 15, 2021 Scheduling

Conference.
Case 1:20-cv-11889-MLW Document 135 Filed 06/01/21 Page 3 of 3

 
     
 

UNITED STATES DISTRICT JU
